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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES – GENERAL
 No.             2:21-cv-06203-ODW (SPx)                              Date    September 28, 2021
 Title           Barat Goroyan v. BMW of North America, LLC et al.



 Present: The Honorable          Otis D. Wright, II, United States District Judge
                Sheila English                             Not reported                    N/A
                Deputy Clerk                       Court Reporter / Recorder             Tape No.
          Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                     Not present                                          Not present
 Proceedings (In Chambers):                   Order DENYING AS MOOT Motion to Remand
                                              [16] and STRIKING Text Entry [21]

      It appears that a multiplicity of remand motions and hearing dates has created some
confusion in the record. Initially, on September 2, 2021, Defendant filed two duplicate remand
motions. (ECF Nos. 14, 16.) The Court terminated ECF No. 14 as duplicative, leaving the
motion at ECF No. 16 pending, with a hearing date of October 4, 2021.

      Then, on September 10, 2021, presumably in response to the Court’s Notice to Filer of
Deficiencies (ECF No. 17), Defendant filed another remand motion (the third of three),
scheduling a hearing on October 18, 2021. (ECF No. 18.) Then, on September 28, 2021, the
Court issued an entry taking the motion at ECF No. 16—with its October 4, 2021 hearing
date—under submission. (ECF No. 21.)

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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

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         To clarify any confusion caused by the foregoing, the Court ORDERS as follows.

         (1) The Motion to Remand at ECF No. 16 is DENIED AS MOOT and the October 4,
             2021 hearing is VACATED.
         (2) The entry at ECF No. 21 is STRICKEN because it refers to a hearing which is now
             vacated.
         (3) The Motion to Remand at ECF No. 18 is the currently pending motion with a hearing
             date of October 18, 2021. The matter is not yet under submission, and any remaining
             briefing deadlines are governed by the Local Rules.

         IT IS SO ORDERED.

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                                                Initials of Preparer   SE




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